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                                                                                FILED IN THE
                                                                            U.S. DISTRICT COURT
 4                                                                    EASTERN DISTRICT OF WASHINGTON


 5                                                                     Jan 14, 2021
 6                                                                         SEAN F. MCAVOY, CLERK



 7

 8                            UNITED STATES DISTRICT COURT
 9                           EASTERN DISTRICT OF WASHINGTON
10

11    UNITED STATES OF AMERICA,
12
             Plaintiff,
13
             v.
14

15                                                     Civil Action No. 1:20-cv-3191 -SAB
16                                                     CONSENT DECREE OF
      VALLEY PROCESSING, INC.,                         PERMANENT INJUNCTION
17
      a corporation, and MARY ANN
18    BLIESNER, individually,
19

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21

22           Defendants.
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26
             Plaintiff, the United States of America, by its undersigned attorneys, having filed
27

28   a Complaint for Permanent Injunction against Valley Processing, Inc. (“Valley
     Consent Decree of Permanent Injunction        1
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 1   Processing”) and Mary Ann Bliesner, (collectively, “Defendants”), and Defendants
 2
     having appeared and consented to the entry of this Consent Decree of Permanent
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 4
     Injunction (“Decree”) without contest and before any testimony has been taken, and the

 5   United States of America having consented to this Decree;
 6
            IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:
 7

 8          1. This Court has jurisdiction over the subject matter and over all parties to this
 9   action.
10
            2. The Complaint for Permanent Injunction states a cause of action against
11

12   Defendants under the Federal Food, Drug, and Cosmetic Act (“the Act”), 21 U.S.C. §§
13   301 et seq.
14
            3. Defendants violate the Act, 21 U.S.C. § 331(a), by introducing or delivering for
15

16   introduction into interstate commerce, or the causing thereof, articles of food within the
17   meaning of 21 U.S.C. § 321(f), namely single strength fruit juice and fruit juice
18
     concentrate, including bulk apple, pear, and grape juice products (“juice products”) that
19

20   are adulterated, in violation of 21 U.S.C. § 331(a).
21
            4. Defendants violate the Act, 21 U.S.C. § 331(k), by causing the adulteration of
22
     articles of food while such articles are held for sale after shipment of one or more
23

24   components in interstate commerce.
25
            5. The articles of food are adulterated within the meaning of 21 U.S.C. §
26
     342(a)(4) in that they have been prepared, packed, or held under insanitary conditions
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28   whereby they may have become contaminated with filth or rendered injurious to health.
     Consent Decree of Permanent Injunction        2
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 1          6. The articles of food are also adulterated within the meaning of 21 U.S.C. §
 2
     342(a)(3) in that the food “consists in whole or in part of any filthy, putrid, or
 3

 4
     decomposed substance, or if it is otherwise unfit for food.”

 5          7. Defendants represent to the Court that, with the exception of holding and
 6
     shipping product for destruction pursuant to paragraph 9, at the time of entry of this
 7

 8   Decree, they are not engaged in processing, manufacturing, preparing, packing, holding,
 9   or distributing any type of food. With the exception of any product in Defendant’s
10
     possession that is covered by paragraph 9, if Defendants later intend to resume
11

12   processing, manufacturing, preparing, packing, holding, or distributing food, they must
13   first notify the United States Food and Drug Administration (“FDA”) in writing at least
14
     ninety (90) calendar days in advance of resuming operations and comply with Paragraph
15

16   8 of this Decree. This notice shall identify the type(s) of food Defendants intend to
17   receive, prepare, process, pack, hold, or distribute. Defendants shall not resume
18
     operations until FDA has inspected the Defendants’ facility(ies) and operations pursuant
19

20   to Paragraph 8(B)(xiv), Defendants have paid the costs of such inspection(s) pursuant to
21
     Paragraph 12, and Defendants have received written notice from FDA, as required by
22
     Paragraph 8(B)(xv), and then shall resume operations only to the extent authorized in
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24   FDA’s written notice.
25
            8. Upon entry of this Decree, Defendants and each and all of their directors,
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     officers, agents, representatives, employees, attorneys, successors, assigns, and any and
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28   all persons in active concert or participation with any of them (including individuals,
     Consent Decree of Permanent Injunction         3
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 1   directors, partnerships, corporations, subsidiaries, and affiliates) who receive notice of
 2
     this Decree, are permanently restrained and enjoined under 21 U.S.C. § 332(a), and the
 3

 4
     inherent equitable authority of this Court, from directly or indirectly receiving,

 5   processing, manufacturing, preparing, packing, holding, and/or distributing, at or from
 6
     any facility from which Defendants receive, prepare, process, manufacture, pack, hold,
 7

 8   and/or distribute food (“Defendants’ facilities”), any article of food, unless and until the
 9   following occur:
10
                 A. Defendants select an expert or experts (the “sanitation expert”) having no
11

12   personal or financial ties (other than a consulting agreement) to the Defendants or the
13   Defendants’ manufacturing operations and who, by reason of background, education,
14
     training, and experience, is qualified to develop, and ensure adequate implementation of,
15

16   a written sanitation control program, covering the Defendants’ manufacturing processes,
17   cleaning and sanitizing operations, pest control, employee health and hygiene
18
     precautions, and plant construction and maintenance (including the plant’s buildings and
19

20   sanitation-related systems (plumbing, sewage disposal), equipment, and utensils
21
     contained therein), to protect against contamination of food, food-contact surfaces, and
22
     food-packaging materials with chemicals, toxins, microorganisms, and filth;
23

24                    i. Defendants inform FDA in writing of the name and qualifications of
25
     the sanitation expert(s) as soon as they retain such expert. The sanitation expert(s)
26
     develops a written sanitation control program for preparing, packing, holding, and
27

28   distributing the Defendants’ juice products;
     Consent Decree of Permanent Injunction         4
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 1                    ii. FDA approves, in writing, the sanitation control program developed
 2
     by the sanitation expert(s);
 3

 4
                      iii. Defendants make English and Spanish versions of the sanitation

 5   control program available and accessible to all their employees;
 6
                      iv. Defendants develop a written employee training program (in English
 7

 8   and Spanish) that includes, at a minimum, instruction in sanitation control requirements
 9   for food-handling and manufacturing, and the Defendants document that each employee
10
     has received such training;
11

12                    v. Defendants assign the responsibility and authority for implementing
13   and monitoring the sanitation control program on a continuing basis to an employee who
14
     is trained in sanitation control requirements;
15

16                    vi. The sanitation expert(s) inspects the Defendants’ plant, including the
17   buildings, sanitation-related systems, equipment, utensils, articles of food, and relevant
18
     records contained therein to determine whether the Defendants have adequately
19

20   established and implemented the FDA-approved sanitation control program, whether
21
     Defendants have adequately addressed the FDA investigators’ inspectional observations
22
     listed on each Form FDA-483 issued to the Defendants since 2016, and whether
23

24   Defendants comply with Current Good Manufacturing Practice (“CGMP”) requirements
25
     set forth in 21 C.F.R. Part 117 subparts A, B, and F; and
26
                      vii. The sanitation expert certifies in writing to FDA that Defendants:
27

28   (a) have adequately established and implemented the FDA-approved sanitation control
     Consent Decree of Permanent Injunction           5
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 1   program; (b) have adequately addressed FDA investigators’ inspectional observations
 2
     listed on each Form FDA-483 issued to the Defendants since 2016; and (c) comply with
 3

 4
     the CGMP requirements in 21 C.F.R. Part 117 subparts A, B, and F.

 5               B. Defendants retain, at Defendants’ expense, an independent person or
 6
     persons (“expert”), who by reason of background, education, training, and experience, is
 7

 8   qualified to develop and implement a Hazard Analysis Critical Control Point (“HACCP”)
 9   plan for juice. The expert shall be without personal or financial ties (other than the
10
     consulting agreement between the parties) to Defendants or their immediate families.
11

12                    i.   Defendants shall notify the United States Food and Drug
13   Administration (“FDA”) in writing of the identity of the expert as soon as they retain
14
     such expert;
15

16                    ii. The expert develops written HACCP plans for each type of juice
17   processed by Defendants, consistent with 21 C.F.R. § 120.8(a)-(c);
18
                      iii. FDA has approved, in writing, the HACCP plan developed by the
19

20   expert;
21
                      iv. Defendants establish and implement to FDA’s satisfaction the written
22
     HACCP plan, developed by the expert and approved in writing by FDA, that is adequate
23

24   to control food safety hazards likely to occur in juice processing, as required by 21 C.F.R.
25
     §§ 120.7 and 120.8;
26
                      v. Defendants perform a root cause analysis to determine sources of
27

28   patulin and arsenic;
     Consent Decree of Permanent Injunction        6
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 1                    vi. Defendants have the expert validate and certify in writing to FDA that
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     the control measures in Defendants’ HACCP plan for apple and pear products are
 3

 4
     adequate to consistently control patulin;

 5                    vii. Defendants have the expert validate and certify in writing to FDA that
 6
     the control measures in Defendants’ HACCP plan for apple products are adequate to
 7

 8   consistently control arsenic;
 9                    viii. The expert develops storage and traceability procedures for all food
10
     commodities, including grape juice concentrate;
11

12                    ix. Defendants disclose to each customer in writing that receives any
13   shipment as of or after the date of this Decree, all lots of juice product that has been
14
     blended into any distributed lot are within the expiration date of the final distributed lot;
15

16                    x.    FDA has inspected Defendants’ facilities, including all records
17   relating to the receipt, processing, manufacturing, preparation, packing, holding, and
18
     distribution of juice; and
19

20                    xi. FDA has notified Defendants, in writing, that the processes and
21
     controls used for the receipt, processing, manufacturing, preparation, packing, holding,
22
     and distribution of food appear to be in compliance with all of the requirements specified
23

24   in Paragraph 8 of this Decree, the Act, 21 C.F.R. Part 117 subparts A, B, and F, and 21
25
     C.F.R. Part 120. And, if such notification is based upon one or more FDA inspections,
26
     Defendants have paid for such inspection(s) and other work at the rates specified in
27

28   Paragraph 12.
     Consent Decree of Permanent Injunction         7
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 1          9. Within ten (10) days of the entry of this Decree, Defendants shall provide to
 2
     FDA an inventory of all remaining juice product, which will be stored at the facility at
 3

 4
     130 US Grape Road, Sunnyside, WA 98944 until it is destroyed. Within two hundred

 5   seventy (270) days of the entry of this Decree, all juice product that is in the Defendants’
 6
     possession at the time this Decree is signed by the parties shall be destroyed by the
 7

 8   Defendants, at their own cost. Defendants shall provide FDA, every thirty (30) days from
 9   the date of entry of the Decree until the end of the two hundred seventy (270) day period,
10
     photographic evidence of Defendants’ efforts to ship product for destruction, and a
11

12   destruction report, consisting of certificates of destruction from the facility the
13   Defendants use to dispose of the product, detailed with the quantity and lot numbers of
14
     barrels destroyed. If Defendants cannot ship any barrels of juice product for destruction
15

16   within a particular thirty day period due to weather conditions or unavailability of a
17   composter or landfill, Defendants must submit a letter to FDA detailing the reason(s) that
18
     they could not ship any product for destruction during that time period.
19

20          10. FDA shall be permitted, without prior notice and as and when FDA deems
21
     necessary, to make inspections of Defendants’ facilities and, without prior notice, take
22
     any other measures necessary to monitor and ensure continuing compliance with the
23

24   terms of this Decree, the Act, and its implementing regulations. During the inspections,
25
     FDA shall be permitted to have immediate access to buildings, equipment, raw
26
     ingredients, in-process and finished articles of food, containers, and packaging material;
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28   to take photographs and make video recordings; to take samples of Defendants’ raw
     Consent Decree of Permanent Injunction         8
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 1   ingredients, in-process and finished articles of food, containers, and packaging material;
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     and to examine and copy all records related to receiving, preparing, processing,
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 4
     manufacturing, packing, holding, and/or distributing any and all articles of food. The

 5   inspections shall be permitted upon presentation of a copy of this Decree and appropriate
 6
     credentials. The inspection authority granted by this Decree is apart from, and in addition
 7

 8   to, the authority to make inspections under the Act, 21 U.S.C. § 374.
 9          11. Defendants shall immediately provide any information or records to FDA,
10
     upon request, regarding the receipt, preparation, processing, manufacturing, packing,
11

12   holding, or distribution of juice. Defendants shall maintain a copy of their HACCP plan
13   and all records required by their HACCP plan and 21 C.F.R. Part 120 at the facility in a
14
     location where they are readily available for reference and inspection by FDA
15

16   representatives. All records required to be kept by the HACCP plan and by regulation
17   shall be retained for at least three (3) years after the date they are prepared and shall be
18
     presented immediately to FDA investigators upon request.
19

20          12. Defendants shall pay all costs of FDA’s supervision, inspections,
21
     investigations, analyses, examinations, and reviews that FDA deems necessary to
22
     evaluate Defendants’ compliance with this Decree, at the standard rates prevailing at the
23

24   time the costs are incurred. As of the date that this Decree is signed by the parties, these
25
     rates are: $101.00 per hour and fraction thereof per representative for inspection work;
26
     $121.06 per hour or fraction thereof per representative for analytical or review work;
27

28   $.575 per mile for travel by automobile; government rate or the equivalent for travel by
     Consent Decree of Permanent Injunction         9
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 1   air or other means; and the published government per diem rate or the equivalent for the
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     areas in which the inspections are performed per representative and per day for
 3

 4
     subsistence expenses, where necessary. In the event that the standard rates applicable to

 5   FDA supervision of court-ordered compliance are modified, these rates shall be increased
 6
     or decreased without further order of the Court.
 7

 8          13. Defendants and each and all of their directors, officers, agents,
 9   representatives, employees, attorneys, successors, assigns, and any and all persons in
10
     active concert or participation with any of them (including individuals, directors,
11

12   partnerships, corporations, subsidiaries, and affiliates) who have received notice of this
13   Decree, are permanently restrained and enjoined pursuant to the provisions of 21 U.S.C.
14
     § 332(a) from directly or indirectly doing or causing any act that:
15

16                 a. violates the Act, 21 U.S.C. § 33l(a), by introducing, or delivering for
17   introduction, into interstate commerce, articles of food that are adulterated within the
18
     meaning of 21 U.S.C. § 342(a)(4) or 21 U.S.C. § 342(a)(3);
19

20                 b. violates the Act, 21 U.S.C. § 331(k) by causing articles of food to be
21
     adulterated within the meaning of 21 U.S.C. § 342(a)(4) or 21 U.S.C. § 342(a)(3), while
22
     such articles are held for sale after shipment of one or more components in interstate
23

24   commerce; and/or
25
                   c. results in the failure to implement and continuously maintain the
26
     requirements of this Decree.
27

28          14. If, at any time after entry of this Decree, FDA determines, based on the results
     Consent Decree of Permanent Injunction         10
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 1   of an inspection, sample analysis, a report or data submitted by Defendants or the
 2
     expert(s), or any other information, that Defendants have failed to comply with any
 3

 4
     provision of this Decree, the Act, or its implementing regulations, or that additional

 5   corrective actions are necessary to achieve compliance with this Decree, the Act, or its
 6
     implementing regulations, FDA may, as and when it deems necessary, notify Defendants
 7

 8   in writing of the noncompliance and order Defendants to take appropriate action
 9   immediately, including, but not limited to, one or more of the following:
10
                  a. Cease receiving, processing, manufacturing, preparing, packing, holding,
11

12   and/or distributing any articles of food, until Defendants receive written notification from
13   FDA that Defendants appear to be in compliance with the Decree, the Act, and its
14
     implementing regulations, and that Defendants may resume operations;
15

16                b. Recall all articles of food that have been distributed and/or are under the
17   custody and control of Defendants’ agents, distributors, customers, or consumers;
18
                  c. Submit samples of raw ingredients, in-process or finished articles of food,
19

20   containers, and/or packaging materials to a qualified laboratory to determine whether
21
     they are contaminated with chemicals, toxins, microorganisms, and/or filth; and/or
22
                  d. Take any other corrective actions as FDA deems necessary to protect the
23

24   public health or bring Defendants into compliance with this Decree, the Act, and its
25
     implementing regulations, including, but not limited to, requiring that Defendants re-
26
     implement or re-institute any of the requirements of this Decree.
27

28          15. The provisions of Paragraph 14 shall be apart from, and in addition to, all
     Consent Decree of Permanent Injunction         11
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 1   other remedies available to FDA. Defendants shall pay all costs of recalls and other
 2
     corrective actions, including the costs of FDA’s supervision, inspections, investigations,
 3

 4
     analyses, examinations, and reviews to implement and monitor recalls and other

 5   corrective actions, at the rates specified in Paragraph 12 of this Decree.
 6
            16. Upon receipt of an FDA order described in Paragraph 14, Defendants shall
 7

 8   immediately and fully comply with the terms of the order, and shall continue to comply
 9   with such terms, until Defendants receive written notification from FDA that Defendants
10
     appear to be in compliance with this Decree, the Act, and its implementing regulations.
11

12   After a cessation of operations , and while determining whether Defendants are in
13   compliance with this Decree, the Act, and its implementing regulations, FDA may
14
     require Defendants to re-institute or re-implement any of the requirements of this Decree.
15

16          17. If any Defendant fails to comply with the provisions of this Decree, the Act,
17   and/or its implementing regulations, then Defendants shall pay to the United States of
18
     America liquidated damages in the sum of two thousand dollars ($2000.00) for each
19

20   violation of this Decree, the Act, and/or its implement regulations; an additional sum of
21
     two hundred fifty dollars ($250.00) for each day that the Defendants fail to comply with
22
     this Decree, the Act, and/or its implementing regulations; and an additional sum equal to
23

24   twice the retail value of each shipment of adulterated food. Defendants understand and
25
     agree that the liquidated damages specified in this Paragraph are not punitive in nature
26
     and their imposition does not in any way limit the ability of the United States to seek, and
27

28   the Court to impose, additional criminal or civil penalties based on conduct that may also
     Consent Decree of Permanent Injunction        12
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 1   be the basis for payment of the liquidated damages.
 2
              18. If any Defendant violates this Decree and is found in civil or criminal
 3

 4
     contempt thereof, Defendants shall, in addition to other remedies, reimburse Plaintiff for

 5   its attorneys’ fees (including overhead), travel expenses incurred by attorneys and
 6
     witnesses, expert witness fees, administrative and court costs, investigation and analytical
 7

 8   expenses incurred in bringing the contempt action, and any other costs or fees related to
 9   contempt proceedings.
10
              19. Defendants shall abide by the decisions of FDA, and FDA’s decisions shall be
11

12   final. All decisions conferred upon FDA in this Decree shall be vested in FDA’s
13   discretion and, if contested, shall be reviewed by this Court under the arbitrary and
14
     capricious standard set forth in 5 U.S.C. § 706(2)(A). Review by the Court of any FDA
15

16   decision rendered pursuant to this Decree shall be based exclusively on the written record
17   before FDA at the time the decision was made. No discovery shall be taken by either
18
     party.
19

20            20. Within ten (10) calendar days after entry of this Decree, Defendants shall:
21
                  a. provide a copy of this Decree by personal service or certified mail
22
     (restricted delivery, return receipt requested), to each and all of their directors, officers,
23

24   agents, representatives, employees, attorneys, successors, assigns, and any and all persons
25
     in active concert or participation with any of them (including individuals, directors,
26
     partnerships, corporations, subsidiaries, and affiliates);
27

28                b. prominently post a copy of this Decree in an employee common area at
     Consent Decree of Permanent Injunction          13
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 1   Defendants’ facilities, and ensure that this Decree remains posted so long as it remains in
 2
     effect; and
 3

 4
                   c. hold a meeting for their employees, at which Defendants shall describe the

 5   terms and obligations of this Decree.
 6
                 Within twenty (20) calendar days after entry of this Decree, Defendants shall
 7

 8   provide FDA with an affidavit of compliance with this Paragraph, stating the fact and
 9   manner of compliance and identifying the names and positions of all persons so notified.
10
            21. In the event that any Defendant becomes associated with any additional
11

12   directors, officers, agents, representative, employees, attorneys, successors, assigns, or
13   any additional persons in active concert or participation with any of them (including
14
     individuals, directors, partnerships, corporations, subsidiaries, and affiliates) that are
15

16   engaged in processing, manufacturing, preparing, packing, holding, and/or distributing
17   food at any time after entry of this Decree, Defendants shall immediately provide a copy
18
     of this Decree, by personal service or certified mail (restricted delivery, return receipt
19

20   requested), to such persons. Within ten (10) calendar days after each instance that
21
     Defendant becomes associated with any individual persons, Defendants shall provide to
22
     FDA an affidavit stating the fact and manner of Defendants’ compliance with this
23

24   Paragraph, identifying the names, addresses, and positions of all persons who received a
25
     copy of this Decree pursuant to this Paragraph, and attaching a copy of the executed
26
     certified mail return receipts. Within ten (10) calendar days of receiving a request from
27

28   FDA for any information or documentation that FDA deems necessary to evaluate
     Consent Decree of Permanent Injunction         14
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 1   Defendants’ compliance with this Paragraph, Defendants shall provide such information
 2
     or documentation to FDA.
 3

 4
            22. Defendants shall notify FDA in writing at least fifteen (15) calendar days

 5   before any change in ownership, name, or character of their business, including
 6
     reorganization, relocation, dissolution, assignment, or lease or sale of the business or any
 7

 8   assets of the business, such as buildings, equipment, or inventory, that may affect
 9   compliance with the obligations arising from this Decree. Defendants shall provide any
10
     prospective successor or assign with a copy of this Decree at least ten (10) calendar days
11

12   before the assignment or change in business, and shall provide FDA with an affidavit of
13   compliance with this Paragraph within ten (10) calendar days of providing a copy of this
14
     Decree to a prospective successor or assign.
15

16          23. Defendants shall address all communications required under this Decree to
17   the HAFW6 /Seattle District Office 22215 26th Avenue SE, Suite 210, Bothell,
18
     Washington, with a copy to orahafwest6firmresponses@fda.hhs.gov. Defendants shall
19

20   prominently mark the envelope, and the email copy, as “DECREE
21
     CORRESPONDENCE,” and shall reference this civil action by case name and civil
22
     action number.
23

24          24. This Court retains jurisdiction of this action for the purpose of enforcing or
25
     modifying this Decree and for the purpose of granting such additional relief as may be
26
     necessary or appropriate.
27

28   SO ORDERED this 14th                     day of   January , 2021.
     Consent Decree of Permanent Injunction              15
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 1                                                   United States District Judge
 2
     We hereby consent to the entry of the forgoing Decree:
 3

 4
      LOCAL COUNSEL:                          FOR PLAINTIFF:

 5                                            JEFFREY B. CLARK
      WILLIAM D. HYSLOP
 6    United States Attorney                  Acting Assistant Attorney General
                                              Civil Division
 7
      TIM M. DURKIN
                                              DAVID J. FEITH
 8    Chief, Civil Division                   Deputy Assistant Attorney General
      Assistant United States Attorney
 9                                            GUSTAV W. EYLER
      Post Office Box 1494
                                              Director
10    Spokane, WA 99210
      Telephone: (509) 835-6324
11                                                 s/Kendrack D. Lewis
                                              KENDRACK D. LEWIS
12
                                              Trial Attorney
13                                            Consumer Protection Branch, Civil Division
                                              U.S. Department of Justice
14
                                              P.O. Box 386
15                                            Washington, D.C. 20044
16                                            Of Counsel:
17
                                              ROBERT P. CHARROW
18                                            General Counsel
19                                            U.S. Dep’t of Health and Human Services
20                                            STACY CLINE AMIN
                                              Chief Counsel
21                                            Food and Drug Administration
22                                            Deputy General Counsel
                                              U.S. Dep’t of Health and Human Services
23
                                              ANNAMARIE KEMPIC
24
                                              Deputy Chief Counsel, Litigation
25
                                              TARA BOLAND
26                                            Senior Counsel
                                              Food and Drug Administration
27
                                              10903 New Hampshire Avenue
28                                            Silver Spring, MD 20993-0002
     Consent Decree of Permanent Injunction     16
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 1    FOR DEFENDANTS:
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     Consent Decree of Permanent Injunction   17
